IN TI-IE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION
AFFIDAVIT
l, Nicholas C. l\/Iittag, affiant, seek authorization for a search warrant, and having been

duly sworn, do hereby state the following:

Introduction

l. l have been a Law Enforcement Officer for over fifteen years. l am currently
assigned to the Springfield, Missouri, Po|ice Department (SPD) Nareotic Enforcement Team
(NET) and as a Task Force Office (TFO) with the Drug Enforcement Administration (DEA). l
am an investigative or law enforcement officer of the United States, within the meaning of
Section 2510(7) of Title 18, United States Code, and am empowered to conduct investigations
of and to make arrests for offenses enumerated in Seetion 2516 of Title 18, United States Code.

2. l have been assigned to NET for two years. Prior to being assigned to NET, I was
assigned to the Special Investigation Unit for flve and a half years, which primarily investigates
gang activity and violent and repeat offenders in the Springfield, l\/lissouri, area. I have received
specialized training and attended seminars relating to the manufacture, distribution, and
possession with the intent to distribute controlled substances From my training and field
experience, l have extensive knowledge of complex illegal drug distribution and manufacturing
organizations

3. During my career, l have conducted and participated in more than five hundred
(500) investigations involving the importation, transportation, possession with intent to
distribute, and distribution of controlled substances, including but not limited to, heroin, as well

as the related laundering of monetary instruments, the conducting of monetary transactions

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involving the proceeds of specific unlawful activities and conspiracies associated with criminal
drug offenses in conducting these investigations l have used a variety of investigative
techniques and resources including physical and electronic surveillance, undercover purchases
electronic intercepts and various types of informants and cooperating sources

4. In addition to my experience in conducting criminal investigations l have
received specialized training from the DEA and other law enforcement agencies The trainings
focused on methods of` unlawful drug trafficking; the identification of controlled substances; the
means by which drug traffickers derive, launder, and conceal their profits from drug trafficking;
the use of assets to facilitate unlawful drug trafficking activity; and the law permitting the
forfeiture to the United States of assets purchased with drug proceeds or assets used or intended
to be used to facilitate the drug violations

5. l have participated in the execution of numerous search warrants in the
investigation of drug trafficking 'l`hese warrants covered the search of locations to include
residences of drug traffickers and their co-conspirators and associates; drug manufacturing
operations; stash houses used as storage and distribution points for controlled substances; and
business offices used by drug dealers as fronts to legitimize their unlawful drug trafficking
activities and to conceal the proceeds obtained from unlawful drug trafficking

6. Based upon my training and experience l know that drug couriers and traffickers
commonly use multiple methods of communication to arrange transactions and conduct
business Cellular phones, personal computers, and other devices are frequently used to send
and receive coded messages over long distances Drug traffickers commonly maintain financial
records refiecting accounting of monies collected and disbursed for the purchase and sale of

controlled substance. T hese records have been discovered written on paper and recorded in

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digital files on computers phones and other similar devices Records also may include the
transfer of monies involved in the sale and procurement of narcotics Records may reflect the
laundering or concealment of the profits from the sale of the narcotics as proceeds from
narcotics trafficking cannot be legally declared. in my experience, it is common for individuals
engaged in illegal narcotics activities to utilize a phone or computer to prepare and store
documents relative to, and in connection with, their illegal activities These records are
typically stored on the devices’ memory or on external memory devices

7. Based upon my training and experience, l know that cellular or wireless phones
and their compatibie hardware in conjunction with computer software are often utilized to store
records which include, but are not limited to, those relating to business activities criminal
activities associates names and addresses and the identity and location of assets illegally gained
through these criminal activities These records are more fully described as information or data
stored in the form of electronic Or magnetic coding on cellular phone and computer media or on
media capable of being read by a computer or computer-related equipmentl This media
includes but is not limited to, fixed hard drives and removable Sll\/I cards hard drive cartridges
laser disks tapes floppy diskettes, and any other media capable of storing magnetic coding.

8. Based on my training and experience, l know that electronic files can be
received, stored, and easily moved from one cellular telephone or electronic storage medium to
another. Therefore, electronic files downloaded to, or created on, one celluiar phone can be
copied to, or transferred to, any other cellular phone, computer, or storage medium at the same
location. In addition, based on my experience, l know that searching digitalized information for

evidence of crime often requires the assistance ofa qualified cellular phone or computer expert

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who can accurately retrieve the systems data iii a laboratory or other controlled environment
This is true because ofthe following:

(a) Volume of evidence: Cellular phone storage devices such as Sll\/l
cards hard disks diskettes, tapes and laser disks can store the equivalent of
thousands of pages of information. Additionally, a suspect may try to conceal
criminal evidence by storing it in random order with deceptive type file names
Tliis may require searching authorities to examine all of the stored data to
determine which particular files are evidence or instrumentalities of the crime.
This sorting process can take weeks to months depending on the volume of data
stored.

(b) Technical requirements: Searching cellular phone systems for
criminal evidence is a highly technical process requiring expert skill and a
properly controlled environment The vast array of computer hardware and
software available requires even computer experts to specialize in some systems
and applications so it is difficult to know before a search which expert is
qualified to analyze the system and its data. in any event, data search protocols
are exacting scientific procedures designed to protect the integrity of the evidence
and to recover even hidden, erased, compressed, password-protected, or encrypted
files Since computer evidence is extremely vulnerable to inadvertent or
intentional modification or destruction (both from external sources and from the
destructive code embedded in the system such as a “booby trap”), a controlled
environment is essential to its complete and accurate analysis The analysis of
electronically stored data may entail any or all of several different techniques
Suc-h techniques may include, but are not limited to, surveying various file
“directories” and the individual files they contain (which is analogous to looking
at the outside ofa file cabinet for the pertinent files in order to locate the evidence
and instrumentalities authorized for seizure by the warrant); “opening" or reading
the first few "‘pages” of such files in order to determine their precise contents;
“scanning” storage areas to discover and possibly recover hidden files; and,
performing electronic “keyword" searches throuin all electronic storage areas to
determine whether occurrences of language contained in such storage areas exist
that are intimately related to the subject matter of the investigation.

9. Based on my training and experience, l know that cellular phones often contain
information that will help identify sources of supply and the intended recipient of the illegal
drugs l know that often time’s narcotic traffickers refer to other co~conspirators by first name
only or by nickname and store such information in the electronic memory of cellular telephones

l know that retrieving names phone numbers and photographs assists in further identifying

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sources of supply and co-conspirators that would be difficult or nearly impossible to identify
without direct knowledge of these individuals and their drug trafficking organization l know
that traffickers utilize mobile phones and digital cameras to photograph narcotics and proceeds
from the sale of narcotics l know that drug traffickers photograph themselves with other co-
conspirators and many times photograph themselves and that these photographs can be
transferred to computer memories

10. Based on my training and experience, l know that once data is electronically
encoded on a device, including cellular phones and computers that the data will remain on the
device indefinitely, even after it is deleted using standard methods in most circumstances

ll. The information contained in this affidavit is based upon my personal knowledge
and investigation. as well as information provided to me by other law enforcement agents
involved in the investigation ofthis case.

12. This affidavit is made in support of an application for a warrant to search: a black
in colorq Samsung brand fiip style cellular telephone; a gray and black in color Apple iPhone; a
white in color iPhone; and a black in color iPhone, which are more fully described in
Attachment A and is further based upon information that would establish probable cause to
believe that evidence of violations of 21 U.S.C. §§ 846, 843 and 84i(a)(l), conspiracy to
distribute controlled substances unlawful use of a communication facility, and distribution or
possession with the intent to distribute a controlled substance is located on the cellular phones
identified in Attachment A. Based upon the following information, there is probable cause to
believe that evidence, fruits and instrumentalities of the possession and/or distribution of

controlled substances in pai'ticular, heroin, is located within the above-described cellular

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phones The evidence, in electronic form, may include the information described in Attachment
B regarding possible violations onl U.S.C. §§ 846, 843, and 84l(a)(l).

13. ln September 2016, DEA began investigating a heroin drug trafficking
organization (DTO) operated by Jovan DENSON and others in the Springfield, l\/Iissouri, area.

14. From September of 2016, to Apri| 2, 2017, the DEA conducted an investigation
during which we determined that DENSON was utilizing multiple telephones to distribute
heroin. The relevant telephone numbers are as follows: (316) 789-3202 (DENSON TARGET
TELEPHONE l), (406) 780~]939 (DENSON TARGET TELEPl-IONE 2), (312) 497'-1157
(DENSON TARGET TELEPHONE 3), and (708) 446-9542 (DENSON TARGET
TELEPi-IONE 4).

15. The telephone numbers for DENSON TARGET TELEPHONE l and DENSON
TARGET TELEPHONE 4 were provided by a known and reliable confidential source (CS),
whose information was corroborated by toll records controlled purchases of heroin from
DENSON, and surveillance

16. The controlled purchases from DENSON by the CS were as follows:

l7. On December 5, 2016, SPD and DEA conducted a controlled purchase of heroin
from DENSON using the CS. The CS contacted DENSON via text message and arranged for
the purchase of heroin. DENSON directed the CS to meet him at the parking lot located at l 137
West Kearney Street, Springfield, i\/lissouri. DENSON arrived at the location driving a blue
201'/' Chevrolet Impala. The CS got into the passenger side of the vehicle for a short time. The
CS then got out ofthe vehicle, and the vehicle left the location. The CS purchased 3.8 grams of

heroin from DENSON for $500.00. After the CS purchased the heroin from DENSON, it was

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relinquished to investigators The suspected heroin was field-tested and showed a positive
result for the presence of heroin.

lS. On December 8, 2016, DEA conducted a controlled purchase of heroin from
DENSON using the CS. The CS contacted DENSON via text message DENSON called back
later and directed the CS to the parking lot of Ye Olde Buggy Bath, a car wash located at l 137
West Kearney Street, Springfield, Missouri. During the telephone call, DENSON agreed to sell
the CS 10 grams for a "stack.” l listened to this telephone call as it occurredl Based on my
training and experience, l know that, in the context of purchasing drugs a "stack” is commonly
used to describe $i,OOO. DENSON directed the CS to meet him on the streetjust north of the
car wash because DENSON thought he was being followed. At approximately 4:50 p.m.,
DENSON arrived at the location driving the lmpala. l observed DENSON pull the vehicle
around to the north side of the car wash on Della Streett The CS got into the front passenger
seat of the vehicle. DENSON then drove the vehicle south on Johnston Avenue and across
Kearney Street, where the CS exited the vehicle. DENSON then left the location. The CS had
purchased 10 grams of heroin from DENSON. After the purchase, the CS relinquished a plastic
bag containing suspected heroin. The suspected heroin was field-tested and showed a positive
result for the presence of heroin.

l9. On February 27, 2017, the CS met with me to conduct a controlled purchase of
heroin from DENSON. The CS sent D.ENSON a text message to ask if they could meet. The
CS then placed a recorded telephone call to DENSON to arrange for the purchase of heroin.
The CS was followed to the meeting location, which was set by DENSON. On the way to the
meeting location, the CS received a telephone call from DENSON, which directed him/her to

meet around the corner from the original meeting location. DENSON told the CS to meet on

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Warren Avenue, south of Division Street, which was a block away from the original meeting
location set by DENSON. The CS met DENSON, who was driving a Nissan Altima, at the
intersection of Warren Avenue and Lynn Street. l observed a hand-to-hand exchange through
their respective driver’s side windows and both vehicles left the location in opposite directions
l observed DENSON was the driver and sole occupant ofthe Altirna. Visual surveillance was
maintained ofthe CS as he/she drove back to a predetermined meeting location. l picked up the
CS at the predetermined meeting location. At that time, the CS relinquished a plastic bag that
contained approximately 10 grams of suspected heroin. The CS also confirmed that the person
from whom lie/she purchased the suspected heroin was DENSON. The substance was tested
with a Nar-Tec field test kit. The test showed a positive result for the presence of heroin.

20. On March 23, 2017, the CS met me to conduct a controlled purchase of heroin
from DENSON. The CS then placed a telephone call to DENSON to arrange for the purchase
of heroin. The CS was followed to the meeting location at Culvers at 2520 North Glenstone
Avenue, Springfield, l\/lissouri. On the way to the meeting location, the CS sent a text message
to the DENSON stating: “Over at patio of culvers....xETA???.” l later viewed and
photographed the text message to DENSON. The CS then received a telephone call from
DENSON, who said he was on his way, and would be there soon. DENSON arrived at the
meeting location a few minutes later in a dark red Ford Taurus. 'I`he vehicle was driven by an
unknown black female and DENSON was a passenger. The CS got into the back seat of the
vehicle and met with DENSON. The meeting was audio recorded and a copy of the meeting
was retained as evidence. The CS then exited the vehicle and DENSON left the location in the
vehicle. Visual surveillance was maintained of the CS as he/she walked back to a

predetermined meeting location. I picked up the CS at the predetermined meeting location. At

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that time, the CS relinquished a plastic bag that contained approximately 10 grams of suspected
heroin. CS also confirmed that the person from whom lie/she purchased the suspected heroin
was DENSON. The substance was tested with a Nar-Tec field test kit. The test showed a
positive result for the presence of heroin.

21. ln each buy, the CS was searched before and after the buys to ensure he or she did
not have any controlled substances cash, or other contraband

22. The telephone number for DENSON TARGET TELEPHONE 2 was originally
determined through a toll analysis of frequent callers to DENSON TARGET TELEPHONE 1
and a prior telephone number for DENSON, also provided by the same confidential source. 1
confirmed that DENSON was using DENSON TARGET TELEPHONES 2 and 3 through the
use ofa cell-site simulator on April 13, 2017.

23. A cell-site simulator is a portable cell tower that can electronically force a cellular
telephone to register its mobile identification number (“MIN," i.e., telephone number) ESN,
and/or IMSI number when the cellular telephone is turned on. Cell data is being transmitted
continuously as a necessary aspect of cellular telephone call direction and processing The
necessary signaling data (ESN/MlN/IMSI, channel/cell-site codes) are not dialed or otherwise
controlled by the cellular telephone user. Rather, the transmission of the cellular telephone’s
ESN/M[N/IMSI to the nearest cell site occurs automatically when the cellular telephone is
turned on. This automatic registration with the nearest cell site is the means by which the
cellular service provider connects with and identifies the account, knows where to send calls
and reports constantly to the customer’s telephone a read-out regarding the signal power, status
and mode. lf the cellular telephone is used to make or receive a call, the screen of the cell-site

simulator would include the l\/IIN, the call’s incoming or outgoing status the cellular

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telephone’s ESN, and/or the ll\/lSl number, and the date, time, and duration of the call. By
identifying (through conventional physical surveillance) the physical presence ofa known target
at multiple geographically disparate locations and taking cell-site simulator readings
investigators may be able, by analyzing data reflecting common l\/IIN, ESN, or lMSl
information, collected from these geographically disparate sites to identify which cellular
telephone(s) are being utilized by the target.

24. Tlie device was utilized in the Western District ofl\/lissouri on April 13, 2017, at
locations where DENSON was present, which we confirmed by physical surveillance Those
locations were the Midwest Technical lnstitute at 3600 South Glenstone Avenue, Springfield,
l\/Iissouri; Norma’s Carriage l-louse at 1537 North Glenstone Avenue, Springfield, Missouri;
DENSON’s home at 919 North Homewood Avenue, Springl'ield, Missouri; and the Baymont
inn at 3343 East Battlefield Road, Springfield, l\/lissouri. At each location, surveillance saw that
DENSON was present and at each location, the cell site simulator was utilized

25. The simulator obtained identifying information for three common devices at the
locations Based on information I had already obtained from Verizon Wireless 1 was able to
determine that two of the devices were DENSON TARGET TELEPHONE 1 and DENSON
TARGET TELEPHONE 2, We obtained additional identification information that did not
match any of the previous identification information that l had for DENSON TARGET
TELEPHONES 1, 2, or 3. I sent an administrative subpoena to Verizon Wireless to determine
the telephone number for the third device. On April 21, 2017', Verizon Wireless responded and

verified that the third common device was DENSON TARGET TELEPHONE 3.

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26. Previously, on April 3, 2017, United States District Court ludge Douglas Harpool
signed an order authorizing the interception of wire and electronic communication for DENSON
TARGET TELEPHONE 1. Interception began on Apri| 4, 2017, and ended on 1\/lay 3, 2017.

27. On l\/lay 10, 2017, United States District Court ludge Douglas l-larpool signed an
order authorizing the interception of wire and electronic communication for DENSON
TARGET TELEPHONES 2, 3, and 4. lnterception began on May 10, 2017.

28. On l\/lay 12, 2017, based on monitored and intercepted conversations as well as
surveillance, investigators knew DENSON was traveling to Chicago, lllinois, because he told
several people he was going to Chicago to visit his son for prom and graduation Based on my
training and experience, 1 know that Chicago is a common and known source area for heroin
coming into the Springfield, l\/lissouri, area.

29. On l\/lay 12, 2017, investigators intercepted telephone conversations between
DENSON and an unknown male who appeared to be traveling with him to Chicago in a second
vehicle. DENSON called the unknown male several times to comment on that the Unknown
Male was swerving while driving, indicating that the Unknown l\/lale was in a separate vehicle,
but that they were remaining close together. Based on my training and experience, l know that
dealers who deal in large quantities of narcotics will often use a transportation tactic such as
having multiple vehicles traveling in tandem to transport narcotics or currency from one
location to another. 1 believe DENSON was using such a tactic by having a second unknown
vehicle following him to Chicago.

30. l also know that dealers in large quantities of narcotics will frequently have
someone else transport the narcotics to avoid being caught with the narcotics themselves

During DENSON’S trip to Chicago, investigators also monitored conversations where

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DENSON said “G” or ""Gerald” was with him and driving his vehicle. During the course of this
investigation, the only “Gerald” known to be involved in the investigation is Gerald POPE.

31. While DENSON was in Chicago, we intercepted phone conversations and
received information from the same CS that in DENSON’S absence, POPE`s girlfriend was
continuing to deliver heroin to DENSON’s distributors

32. On May 12, 2017, at 4:31 p.m., investigators intercepted a telephone call from
DENSON TARGET TELEPHONE 3 to telephone number (708) 821-7785, a number associated
with Gerald POPE (GP). An administrative subpoena showed this phone to be subscribed to
POPE. The conversation between DENSON (JD) and POPE (GP), as transcribed by the officers
monitoring the conversation, stated_

GP: Yeah.

JD: Yeah my dumb ass phone is fucking up. l do not have the right charger for that
phone, it just keep going dead, dead, dead They got rides 1’m just gonna have
them go to the dollar store. Whenever she close.

GP: lnaudible.

JD: Yeah, they pretty muchjust waiting on my call. l’m just keeping them posted.

GP: Tell them to go to the dollar store. l got a couple ofthings waiting there already.

JD: Alright.

GP: Alright.

33. During the timefraine of the aforementioned phone call, I was contacted by the
CS. The CS stated an unknown female subject was going to deliver heroin to two of
DENSON’S known distributors Brian BROWN and Edward Sl\/llTH, who had also been
intercepted on the wire setting up what, based on my training and experience, l believe to be
heroin deals with DENSON.

34. Between 4:48 p.m. and 4:50 p.m., investigators intercepted text messages to

DENSON TARGET TELEPHONE 3 from POPE. The conversation was as follows

GP: Blue Van
GP: They supposed to give her anything?

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GP: ???

35. DENSON did not responded to the text messages from POPE, likely due to
having trouble with his telephone at that time. During later intercepted phone calls DENSON
explained that his phone was not working properly and he had to get it fixed_

36. At approximately 5:00 p.m., investigators established surveillance at the Dollar
General at 2422 West Division Street, Springfield, Missouri. lnvestigators observed Sl\/llTl-I
meet with a female, who was later identified as Ceirra NASH, driving a blue GMC van with
l\/lissouri License plate DPS PSF. That license plate was registered to POPE. lnvestigators
observed Sl\/IITH get into the van with NASH and exit less than a minute later. Sl\/IITH then
left the parking lot in a white Kia hatchback.

37. A traffic stop was conducted of SMlTl~l, based on probable cause of a drug
transaction, by SPD Officer Adam Rowles. A probable cause search of the vehicle found
Sl\/llTH to be in possession of 20 grams of a dark brown substance. 1 later field tested the
substance and it showed the positive indicator for heroin. Based on the telephone calls the
nature of the interaction with NASH, and my training and experience, 1 believe Sl\/IITH had just
purchased that heroin from NASl-l.

38. On l\/lay 13, 2017, between 2123 p.m. and 4:50 p.m., investigators intercepted text
messages between DENSON TARGET TELEPHONE 3 and POPE. Tlie conversation was as
follows

GP: I’m finna turn the phone on. So l no my people should be ready for another round

in bout an hour

GP: She out now. Ready when you are, l'll keep her on Florida until then.

JD: Bet

JD: Ol girl still out

GP: Waiting on you

JD: Ready one time where to go
GP: This it or you still waiting too?

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JD: This it

GP: .Popeyes

JD: 10m

39. Due to the aforementioned conversation, investigators established surveillance at
the Popeye’s Chicken at 1231 West Kearney Street, Springfield, Missouri. investigators also
attempted to establish surveillance at a home identified as POPE’s on Florida Street, however,
investigators did not reach the location in time to see if NASH left from the home on Florida
Street. l-lowever, investigators did observe NASH driving the same blue Gl\/lC van a block
away from the home. The vehicle was seen driving north on lohnston Avenue.

40. lnvestigators followed NASl-l to the Popeye’s Chicken and observed her meet
with BROWN. Surveillance of NASl-l was terminated at that tiine. Based on the investigation
as outlined herein, the calls above and below, and my training and experience, l believe that
BROWN purchased heroin from NASH.

41. On l\/lay 15, 2017, investigators learned that POPE had a second residence in
Battlefield, Missouri, at 4101 West Falcoii Drive. l discovered this when checking utility
accounts for POPE and found an active account at that address in POPE’s name. lnvestigators
conducted surveillance at 4101 West Falcori Drive and observed the same blue Gl\/iC van
parked at the location. On that day, the vehicle left the location being driven by the same
female (NASH) who had been observed during the previous drug transactions A traffic stop
was subsequently conducted on the GMC van, in order to identify NASH. NASl-l provided the
name l\/lercedes Nash at the time of the stop. ln an intercepted text conversation from DENSON
TARGET TELEPHONE 3, POPE told DENSON that NASH had used her sister’s name during

the stop, so TFO Mittag obtained a photo of NASH and confirmed her identity with the Greene

County deputy who had stopped her.

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42.

On l\/lay 15, 2017, between 12:48 p.m. and 3:54 p.m., investigators intercepted

text messages between DENSON TARGET TELEPHONE 3 and POPE. The conversation was

as follows:

JD'

GP:

JD:
JD'

GP:

JD:
JD'

GP:

43.

Where can she go. One time. Fuc my other dude

Shid. her get ready for work and shit so she don’t gotta come back. Then she can
sit on Florida til it’s time for her to go in.

One time. Where u want em

U sure she got time

Popeyes 15 minutes

Ok

Pulling up

Had to stop and get it, should be pulling up if she hasn’t already.

On l\/lay 16, 2017, between 7:35 p.rn. and 8:49 p.m., investigators intercepted text

messages between DENSON TARGET TELEPHONE 3 and POPE. The conversation was as

foilows:

GP:

JD:

GP:

JD'

GP:

JD:

GP:
GP:
GP:

JD:
JD:

GP:

JD:
JD'

GP:
GP:

JD:

44.

Was sleep. What up?

She at work huh

No

U think she can come out, 2 people pretty much ready
Ok. Bouta send her, give me a second

Just like when close to ready

Auto store on broadway

Kearney

Auto store on broadway

2 times One n one

Grey car n the regular person

Just tell them blue van. She gone sit there.

Grey car there. Regular pulling

UP

You sure?

Did you tell grey car blue van, shejust sitting there. Other chic came and gone.
Other one see her now

Based on the aforementioned conversation, investigators established surveillance

at the O’Reilly’s Auto Parts store located at 1015 West Kearney, Springfield, l\/lissouri. They

also established surveillance at the residence of Claude DAVIS, located at 1036 South Fort Ave.

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At approximately 9:00 p.m., DAVIS was observed leaving the residence in his gray l\/lazda
sedan.

45. lnvestigators followed DAVIS as he drove to the O’Reilly’s Auto Parts Store.
Investigators again attempted to establish surveillance of the POPE’s home on Florida Street in
order to see NASH leave the residence, but surveillance was not established in time. NASH
was again observed driving the same blue Gl\/lC van north on .lohnston Avenue a block north of
the home.

46. lnvestigators observed DAVlS meet with NASH in the parking lot of the
O’Reilly’s. A probable cause traffic stop was subsequently conducted on DAVIS. A probable
cause search of the vehicle found DAVIS to be in possession of 20 grams of a dark brown
substance 1 later field tested the substance, and it showed the positive indication for heroin.
Based on my training and experience, the investigation as outlined herein, and the text messages
above, l believe that DAVlS purchased that heroin from NASl-l.

47. Between l\/lay 12 and l\/lay 17, 2017, while DENSON was in Chicago, illinois
several phone calls were intercepted were he stated that POPE had gone back home to
Springfield, l\/lissouri, ahead of him.

48. On l\/lay 18, 2017, surveillance was conducted at 1200 West Florida Street,
Springfield, Missouri. POPE was seen exiting the residence and leaving the location in the
same previously mentioned blue Gl\/IC van that NASH had used to deliver heroin.

49. A traffic stop was conducted on the vehicle, based on a traffic violation, by SPD
Corporal Jason Friend. A search of the vehicle and POPE`, was conducted due to the strong
smell of burnt marijuana l\lo narcotics were found, but POPE was found to be in possession of

approximately $6,000 in U.St Currency. POPE had approximately $2,000 in U.S. currency in

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his pocket, and the rest was found in the center console of the veliicle. POPE told Corporal
Friend he worked as a barber. When Corporal Friend asked POPE where he worked, he stated
he cut peoples hair at his residence Corporal Friend asked POPE for consent to search his
residence for drugs or money, and POPE denied consent. POPE was released at that time.
Based on my training and experience and the investigation as outlined herein, l believe the U.S.
currency was the proceeds of drug sales

50. On l\/lay 18, 2017, l applied for and received a narcotics related search warrant for
1200 West Florida Street, one of POPE’s residences The search warrant was reviewed by
Special Assistant United States Attorney Josephine Larison and then signed by U.S. l\/lagistrate
David P. Rush. Simultaneous|y, investigators established surveillance at POPE’s other known
address at 4101 West Falcon Drive, Battlefield_, l\/lissouri. investigators observed POPE arrive
at 4101 West Falcon Drive, where he stayed Surveillance was maintained on 4101 West
Falcon Drive while the search warrant was executed at 1200 W. Florida Street.

51. During the search of the residence at 1200 West Florida Street, a handgun was
seized and items of evidence linking POPE to that address POPE was subsequently arrested for
being a felon in possession ofa firearm after he left the residence at 4101 West Falcon Drive in
the same blue van. During POPE’s arrest, he was found to be in possession ofa Samsung flip
style cellular phone and three Apple iPhone cellular phones all of which are further described in
Attachment A. The Samsung was found in POPE’s front pants pocket and the iPhones were all
found inside the van. Since the time of POPE’s arrest, all four of the cellular telephones have
remained in the custody ofthe DEA in Springfield, l\/lissouri.

52. Based on my training and experience, l know that dealers iri controlled substances

will often use multiple cellular telephones to distribute controlled substances Based on the

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aforementioned information, l believe P()PE was a significant distributor of heroin for the
DENSON DTO. 1 also believe the cellular telephones will contain information and evidence
which will help in the prosecution of POPE and show his role in the heroin conspiracy

53. Your affiant respectfully requests that a search warrant be issued authorizing the
DEA, specifically the undersigned or any other certified computer analysis forensic examiner,
to conduct a thorough search of the contents of the items in Attachment A for the items listed in
Attachment B, which are evidence of the commission of, and are contraband and
instrumentalities of, criminal offenses concerning violations of 21 U.S.C. §§ 846, 843, and

841(3)(1).

Nicholas C. l\/littag
Task Force Officer
Drug Enforcement Administration

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Subsciibed and sworn to before me in my presence on this.g __Jday of August, 2017.

aQa/?/§:Ia

David P. Rush
United States Magistrate Judge

 

 

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Attachment A

PROPERTY TO BE SEARCHEI)
The property to be searched is:
(a) an Apple iPhone, gray and black in color, with International l\/lobile Equipment ldentity
(IME1)35021076208636;
(b) an Apple iPhone, white in color, with ll\/lEl 013988007227151;
(c) an Apple iPhone, black in color, with an unknown ll\/lEl; and
(d) a Samsung Verizon flip style phoneq black in color, with l\/lobile Equipment ldentifier
A0000047720234,
all of which were seized from Gerald POPE on l\/lay 18, 2017.
The cellular telephones are currently in the custody of the Drug Enforcement

Administration (DEA) located at 3031 South Fort Avenue, Springfield, l\/lissouri.

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Attachmeiit B
PROPERTY TO BE SEIZED

All records on the device described in Attachment A that relate to violations ofTitle 21,
United States Code, Sections 841, 843, and 846, includiiig:

a. Any and all documents records emails instant messages/chats text messages video
messages or other communications and lnternet history (in documentary or electronic form)
pertaining to the possession, receipt, distribution, or production of controlled substances

b. Any and all records showing calls made, received, or missed pertaining to the possession,
receipt, distribution, or production of controlled substances

c. Any and all records showing text (SMS) messages or multi-media (l\/ll\/lS) messages made or
received pertaining to the possession, receipt, distribution, or production of controlled
substances

d Any and all voice messages pertaining to the possession, receipt, distribution, or production
of controlled substances

e. Any and all contact lists calendar information, or other data pertaining to the possession,
receipt. distribution, or production of controlled substances

f. Any and all visual depictions including still images videos films or other recordings which
pertain to the possession, receipt, distribution, or production of controlled substances

g. Any and all data from programs or “apps” that are used in furtherance of the possession,
receipt, distribution, or production of controlled substances

h. Any and all data contained on removable media pertaining to the possession, receipt,
distribution, or production of controlled substances

i, Any and all passwords and other data security devices designed to restrict access to or hide

computer software, documentation, or data. Data security devices may consist of hardware,

software, or other programming code;

Any and all records documents invoices notes and materials that pertain to accounts with

any lnternet Service Provider, as well as any and all records relating to the ownership or use

of the searched media; and

k. Any and all documents images and records indicating the owner and possessor of the
searched media.

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